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                                                        U.S. Department of Justice

                                                        Channing D. Phillips
                                                        Acting United States Attorney

                                                        District of Columbia


                                                        Judiciary Center
                                                        555 Fourth St., N.W.
                                                        Washington, D.C. 20530


                                                     July 8, 2021

Eugene Gorokhov, Esq.
Burnham & Gorokhov, PLLC
1424 K Street NW, Suite 500
Washington, D.C. 20005

       Re:      United States v. Jonathanpeter Allen Klein & Matthew Leland Klein
                Case No. 21-CR-237

Dear Counsel:

        I am writing to give you an opportunity to obtain copies of your client’s electronic devices
and to view physical evidence in this case. I have attached a list of evidence seized from your
client. The government will also produce in discovery reports for all accounts and electronic
devices related to your client. Generally, that discovery will include a forensic report documenting
the portions of the account or device that were deemed responsive to a warrant, and not the entirety
of the device or account.

        In the meantime, if you would like a copy of the government’s extraction from any of the
electronic devices on the attached list, please place an “X” in the cell next to the device(s) and
return the spreadsheet to me. Extractions for computers will be E01 files that are not readily
viewable without forensic software. For mobile devices, we will generally provide a Cellebrite
reader report which is an executable file and will open on any Windows machine. I will contact
the FBI to determine the location of any requested device(s) and to obtain a recommendation for
the size and type of hard drive that will be required. I will then provide you a name and address
where you can send (or have a vendor send) a hard drive to have the images loaded. The FBI will
return your hard drive directly to the address you specify. Accordingly, please ensure that the hard
drive is clearly labeled with the defendant’s name and case number as well as a point of contact to
receive the drive including, name, firm, address, and telephone number.

       Generally, depending on the location and number of devices at issue, the government
estimates that it could take approximately thirty days to complete this process.
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         Please let us know if there are additional seized accounts or devices that you seek because
they belong to your client. Finally, if you would like to inspect any of the physical evidence seized
in this case, please let me know.

                                                      Sincerely,

                                                      s/ Christopher K. Veatch
                                                      CHRISTOPHER K. VEATCH
                                                      Assistant United States Attorney
Enclosure(s)




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 Collected On Barcode Item Number    Case UCFN      Acquistion Event                                                 Description          Holding Office        Evidence Type     Requested by Defense
2021-03-23    E6449078 1B10       266O-PD-3386044                                                                                        PORTLAND        CART
2021-03-23    E6449079 1B9        266O-PD-3386044                                                                                        PORTLAND        GENERAL
2021-03-23    E6449080 1B8        266O-PD-3386044                                                                                        PORTLAND        CART
2021-03-23    E6449081 1B7        266O-PD-3386044                                                                                        PORTLAND        CART
2021-03-23    E6449082 1B6        266O-PD-3386044                                                                                        PORTLAND        CART
2021-03-23    E6449074 1B5        266O-PD-3386044                                                                                        PORTLAND        GENERAL
2021-03-23    E6449075 1B4        266O-PD-3386044                                                                                        PORTLAND        GENERAL
2021-03-23    E6449076 1B3        266O-PD-3386044                                                                                        PORTLAND        CART
2021-03-23    E6449077 1B2        266O-PD-3386044                                                                                        PORTLAND        GENERAL
2021-03-23    E6449083 1B1        266O-PD-3386044                                                                                        PORTLAND        GENERAL




2021-03-23   E6566273 1D1         266O-PD-3386044                                                                                        PORTLAND      CUSTODIAL_ELSUR_EVIDENCE
